       Case 1:24-cv-12843-PBS           Document 10        Filed 01/02/25      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 LESLIE COURTNEY,

                Plaintiff,

 v.                                                Civil Action No. 1:24-cv-12843-PBS

 PAPA, INC.,

                Defendant.


      DEFENDANT PAPA, INC’S PARTIAL MOTION TO DISMISS AND COMPEL
                              ARBITRATION


       Defendant, Papa, Inc., hereby moves pursuant to the Federal Arbitration Act, 9 U.S.C. § 2,

et seq., and Florida law to compel arbitration and dismiss Counts II, III, V, and VI from the present

Complaint, or in the alternative, to stay the pending litigation brought by Plaintiff Leslie Courtney

(“Plaintiff”), as arbitration proceeds. Upon hire, Plaintiff executed a Mutual Agreement to

Arbitrate, which provides that arbitration would be the sole means for resolving covered claims,

including the alleged discrimination and retaliation claims Plaintiff asserts in her Complaint.

Accordingly, Defendants are entitled to compel arbitration and the Court should enforce the

Arbitration Agreement and stay the pending litigation.
         Case 1:24-cv-12843-PBS         Document 10        Filed 01/02/25       Page 2 of 2




                                                     Respectfully Submitted,

                                                     PAPA, INC.

                                                     By its Attorneys



                                                     /s/ Stephen T. Paternit
                                                     Stephen T. Paterniti BBO # 564860
                                                     Laura K. Terrasi BBO# 698839
                                                     JACKSON LEWIS P.C.
                                                     75 Park Plaza, 4th Floor
                                                     Boston, MA 02116
                                                     T: 617-367-0025; F: 617-367-2155
                                                     Stephen.Paterniti@jacksonlewis.com
                                                     Laura.terrasi@jacksonlewis.com



                                 RULE 7.1 CERTIFICATION
         The undersigned does hereby certify that Defendant conferred with Plaintiff, a pro se
litigant, in accordance with rule 7.1, via telephone on January 2, 2025, and that no agreement could
be reached to resolve or narrow the issues.


                                                     /s/ Laura K. Terrasi
                                                     JACKSON LEWIS P.C.

Dated: January 2, 2025

                                CERTIFICATE OF SERVICE

        I certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF).

                                                     /s/ Stephen T. Paterniti
                                                     Jackson Lewis P.C



4908-6757-2233, v. 1




                                                 2
